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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                      24-20374-CR-MARTINEZ/SANCHEZ
                            Case No.         --------
                                              18 u.s.c. § 371
                                              18 U.S.C. § 981(a)(l)(C)
                                                                                     MP
  UNITED STATES OF AMERICA

  v.                                                                          Aug 28, 2024
  GAL HAIMOVICH,
                                                                                       Miami
         Defendant.
  -------------
                                          INFORMATION

         The United States Attorney charges that:

       CONSPIRACY TO COMMIT AN OFFENSE AGAINST THE UNITED STATES
                             (18 u.s.c. § 371)

         I.      Between at least in or around March 2022, and continuing through in or around

  May 2023, in Miami-Dade County, in the Southern District of Florida, and elsewhere, the

  defendant,

                                        GAL HAIMOVICH,

  did willfully, that is, with the intent to further the objects of the conspiracy, and knowingly,

  combine, conspire, confederate, and agree with other persons, known and unknown to the United

  States Attorney, to commit an offense against the United States, that is:

         (a) to export and cause to be exported, from the United States to Russia, aircraft parts

  controlled and identified on the Commerce Control List, without first having obtained the required

  authorization and license from the U.S. Department of Commerce ("DOC"), in violation of Title

  50, United States Code, Sections 4819(a)(l) and (a)(2)(A)-(E), (G), 4819(b), and Title 15, Code of
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  Federal Regulations, Section 736.2(b)(l); and

         (b) to fraudulently and knowingly export and send from the United States any merchandise,

  article, and object, contrary to any law and regulation of the United States, and receive, conceal,

  buy, sell, and in any manner facilitate the transportation, concealment, and sale of such

  merchandise, article, and object, prior to exportation, knowing the same to be intended for

  exportation contrary to any law and regulation of the United States, in violation of Title 18, United

  States Code, Section 554(a).

                                 PURPOSE OF THE CONSPIRACY

         2.      It was the purpose of the conspiracy for the defendant and his co-conspirators to

  unlawfully enrich themselves by exporting and smuggling, from the United States to Russia,

  aircraft parts and components that were controlled on the Commerce Control List, without first

  having obtained the requited authorization and license from the DOC; and to conceal their

  smuggling by making false and misleading representations, statements, and certifications, and by

  falsifying export documents filed or required to be filed pursuant to the Export Administration

  Regulations, in order to deceive U.S. officials and private companies about the true destination of

  the parts and components.


                                            OVERT ACTS

         In furtherance of the conspiracy, and to accomplish the purpose and objects thereof, the

  defendant and his co-conspirators committed and caused to be committed, in the Southern District

  of Florida, and elsewhere, at least one of the following overt acts:




                                                   2
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         1.      On or about July 28, 2022, a co-conspirator sent an e-mail to defendant GAL

  HAIMOVICH directing HAIMOVICH to "arrange transportation to Moscow" of an aircraft part

  called an "air data module"-a sensor that assists an airplane pilot's navigation. The air data

  module was controlled on the Commerce Control List under ECCN 7A994 for "anti-terrorism"

  reasons and required a license for export to Russia. In the conclusion of the e-mail, the co­

  conspirator stated, in red, highlighted text: "the actual shipper should not know that the cargo is

  following to Russia!"


         2.      On or about August 2, 2022, defendant GAL HAIMOVICH directed a co-

  conspirator to falsely inform the air data module's U.S. vendor that the part would be shipped to a

  company in the Maldives.


         3.      On or about August 4, 2022, defendant GAL HAIMOVICH caused the air data

  module to be shipped to its actual destination in Moscow, Russia.


         4.      On or about September 11, 2022, defendant GAL HAIMOVICH attempted to

  export an aircraft part called an "air data and inertial reference unit," which supplies information

  to an airplane pilot's electronic flight instrument system displays, from Miami, Florida, to Russia.

  The air data and inertial reference unit was controlled on the Commerce Control List under ECCN

  7A l 03.a for "missile technology" reasons and required a license for export to Russia.


         5.      On or about September 11, 2022, a co-conspirator sent an e-mail directing

  defendant GAL HAIMOVICH to conceal from the air data and inertial reference unit's U.S.

  vendor the part's actual destination in Moscow, Russia.




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            6.        Between in or around September 2022, and continuing through in or around

  October 2022, defendant GAL HAIMOVICH caused to be filed false and fraudulent electronic

  export information-required documentation submitted to the U.S. Government in connection

  with certain export shipments from the United States-in order to conceal the ultimate recipient

  of aircraft fuel pumps exported by the defendant from the United States to his co-conspirators in

  Russia.

            7.        Between in or around March 2023 through in or around May 2023, defendant GAL

  HAIMOVICH sent invoices to various customers and co-conspirators seeking payment of at least

  $2,024,435.44 in exchange for HAIMOVICH's facilitation of the unlawful export of aircraft parts

  and components to Russia.

            All in violation of Title 18, United States Code, Section 371.

                                     FORFEITURE ALLEGATIONS

                 I.    The allegations of this Information are hereby re-alleged and by this reference

  fully incorporated herein for the purpose of alleging forfeiture to the United States of America of

  certain property in which the defendant, GAL HAIMOVICH, has an interest.

                 2.    Upon conviction of a conspiracy to commit a violation of Title 50, United Sates

  Code, Section 4819, as alleged in this Information, the defendant shall forfeit to the United

  States any property: (a) used or intended to be used, in any manner, to commit or facilitate the

  offense; (b) constituting or traceable to the gross proceeds taken, obtained, or retained, in

  connection with or as a result of the offense; and (c) constituting an item or technology that is

  exported or intended to be exported in violation of Title 50 Chapter 58, Subchapter I, pursuant

  to Title 50, United Sates Code, Section 4819(d).

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              3.        Upon conviction of a conspiracy to commit a violation of Title 18, United

  States Code, Section 554, as alleged in this Information, the defendant shall forfeit to the United

  States any property, real or personal, which constitutes or is derived from proceeds traceable to

  such offense, pursuant to Title 18, United States Code, Section 98l(a)(l)(C).

              4.        The property subject to forfeiture as a result of the alleged offenses includes,

  but is not limited to, the following:

                   a.        A forfeiture money judgment in the sum of$2,024,435.44 in U.S. currency,

         which sum represents the value of the property subject to forfeiture;

                   b.        directly forfeitable property, including, but not limited to:

                             (i)     The real property located at 3331 Northwest 82nd A venue, Doral,
                                     Florida 33122;

                             (ii)    One (1) Maxjet Shipment Package to New Delhi;

                             (iii)   One (1) Reliance Aircraft Package to Serbia, Invoice#18239;

                             (iv)    One (1) Magellan Aviation Delivery to Serbia, Shipment# SM
                                     1029767;

                             (v)     One (1) Aircraft Service and Specialty Package Invoice#5350127;

                             (vi)    One (1) Safran Cabin Inc. Package c/o#002308901;

                             (vii)   One (1) Yokohama AirSpace Shipment to Siberia Airlines
                                     #P9717522;

                             (viii) One (1) Maxjet Invoice#KELF3V;

                             (ix)    One (1) Setec Aero PO 229251 Shipper Proponent Package to
                                     China;

                             (x)     One (1) Ethiopia Airlines Honeywell Package to Setec Aero;

                             (xi)    One (1) Maxjet Service Moldova P010747 Package;

                             (xii)   One (1) Griselda Proponent CTI USA Package;
                                                       5
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                       (xiii) One (1) Boeing Package #SHB02556830;

                       (xiv)   One (1) Package to Maxjet Moldova Invoice #12151;

                       (xv)    Five (5) Setec Aero Tires to Dubai;

                       (xvi)   One (1) Tre Aero Package 50 #50-17418;

                       (xvii) Twenty-five (25) Nelson Parts Boxes;

                       (xviii) One (1) Lumijet aircraft parts;

                       (xix)   One (1) Control Main Engine Serial #WYG85607;

                       (xx)    One (1) Set of Proponent Main Parts;

                       (xxi)   Two (2) Sets of Boeing Aircraft Parts; and

                       (xxii) One (1) Constant Speed Drive Part #73551lA.

        All pursuant to Title 18, United States Code, Section 98l(a)(l)(C) and Title 50, United

 States Code, Section 4819(d) and theprocedures set forth in Title 21, United States Code, Section.

 853, as incorporated by Title 28, United States Code, Section 2461(c).



                               S?�:
                               MARKENZY LAPOINTE
                                    ST
                               �- -

                               CHRISTOPHER B. BROWNE
                               ASSISTANT UNITED STATES ATTORNEY

                               :Jd��fc:
                               TRIAL ATTORNEY
                               U.S. DEPARTMENT OF JUSTICE NATIONAL SECURITY
                               DIVISION
                               COUNTERINTELLIGENCE & EXPORT CONTROL SECTION



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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                                                      CASE NO.: 24-20374-CR-MARTINEZ/SANCHEZ

v.
                                                                              CERTIFICATE OF TRIAL ATTORNEY
GAL HAIMOVICH,
------------------''
                 Defendant.                                                   Superseding Case Information:
C9!lrt Division (select one)                                                  New Defendant(s) (Yes or No) No
    Iii Miami      D Key West                 □ FTP                           Number of New Defendants
          □
        FTL           WPB  □                                                  Total number of new counts

I do hereby certify that:
   1. I have carefully considered the allegations of the indictment, the number of defendants, the number of probable
        witnesses and the legal complexities of the Indictment/Information attached hereto.
        1 ru:rcawar1:nnarthe-informatio1i-supplie1i-o-i
           -                                            1this-sta:tementwill b-erelied upon by the Judge1njfthis Court in setting
        their calendars and scheduling criminal trials under the mandate of the Speedy Trial Act, Title 28 U.S.C. §3161.

     3.       Interpreter: (Yes or No) Yes
              List language and/or dialect: Hebrew
                                           ;;;.,;=..;..;.;..;c...;.;...____



     4.       This case will take _0_ days for the parties to try.

     5.       Please check appropriate category and type of offense listed below:
              (Check only one)                            (Check only one)
              I   � 0 to 5 days                       □ Petty
              II   □6 to 10 days                      □ Minor
                   □
                   11 to 20 days                      □ Misdemeanor
              III
              IV   □
                   21 to 60 days                      llJ Felony
              V    □
                   61 days and over

  6.          Has this case been previously filed in this District Court? (Yes or No) No
              If yes, Judge ___________ Case No. _______________
     7.       Has a complaint been filed in this matter? (Yes or No)
              If yes, Magistrate Case No. 23-mj-03087-REID
     8.       Does this case relate to a previously filed matter in this District Court? (Yes or No) No
              If yes, Judge__________ Case No._______________
  9.
  10.
              Defendant(s) in federal custody as of
              Defendant(s) in state custody as of
                                                            ---------------------
  11.         Rule 20 from the ____ District of_________
  12.         Is this a potential death penalty case? (Yes or No) No
  13.         Does this case originate from a matter pending in the Northern Region of the U.S. Attorney's Office
              prior to August 8, 2014 (Mag. Judge Shaniek Maynard? (Yes or No) No
  14.         Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office prior
              to October 3, 2019 (Mag. Judge Jared Strauss? (Yes or No)
 15.          Did this matter involve the participation of or consultation with Magistrate Judge Eduardo I. Sanchez
              during his tenure at the U.S. Attorney's Office, which concluded on January 22, 2023? No
  16.         Did this matter involve the participation of or consultation with now Magistrate Judge Marta Fulgueira
              Elfenbein during her tenure at the U.S. Attorney's Office,           concl     on March 5, 2024? No




                                                                                  Assistant United States Attorney
                                                                                  FL Bar No.         91337
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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                          PENALTY SHEET

  Defendant's Name: GAL HAIMOVICH

  Case No: -------------------------------

  Count#:

  Conspiracy

  Title 18 United States Code Section 371
  * Max. Term of Imprisonment: Five (5) years
  * Mandatory Min. Term of Imprisonment (if applicable): N/A
  * Max. Supervised Release: Three (3) years
  * Max. Fine: The greater of $250,000 or twice the pecuniary gain derived from the offense




    *Refers only to possible term of incarceration, supervised release, and fines. It does not include
          restitution, special assessments, parole terms, or forfeitures that may be applicable.
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          AO 455 (Rev. 01/09) Waiver of an Indictment


                                                UNITED STATES DISTRICT COURT
                                                                    for the
                                                          Southern District of Florida

                            United States of America                   )
                                       v.                              )     Case No.
                                GAL HAIMOVICH                          )   24-20374-CR-MARTINEZ/SANCHEZ
                                                                       )
                                      Defendant                        )

                                                        WAIVER OF AN INDICTMENT

1--------�.Jmderstand_thatLha:v..e_beenaccused_o Lone__or_more_offenses_punishable_by _imprisonment_for_more than one
      year. I was advised in open court of my rights and the nature of the proposed charges against me.

                 After receiving this advice, I waive my right to prosecution by indictment and consent to prosecution by
          information.



          Date: ----'8=·=23=·=     4'---_
                             2 0=2=.c
                                                                                                Defendant's signature




                                                                                                    David Seltzer
                                                                                         Printed name of defendant's attorney




                                                                                                  Judge's signature



                                                                                            Judge's printed name and title
